      Case 1:23-cv-04738-KPF              Document 151-2           Filed 08/05/24         Page 1 of 2




                       ATTACHMENT B: COINBASE SEARCH REPORT 1                        0F




           Search Term                       No. of Search Hits                 No. of Search Hits
                                               (Documents)                  (Documents & Attachments)
 crypto* AND "fair notice"                          3212                               5763
 crypto* AND certain*                             159538                             278972
 crypto* AND confusion                             17711                              37083
 token AND "fair notice"                            2295                               4463
 token AND certain*                                81484                             156713
 token AND confusion                               10339                              22814
 "digital asset" AND "fair                          2343                               4676
 notice"
 "digital asset" AND certain*                        77811                                140744
 "digital asset" AND confusion                       9568                                 18671
 crypto* AND Howey                                   43575                                81670
 crypto* AND securit*                               346706                                529216
 crypto* AND ecosystem                               55635                                103508
 token AND Howey                                     41700                                75430
 token AND securit*                                 149604                                242810
 token AND ecosystem                                 41697                                80597
 "digital asset" AND Howey                           31102                                61180
 "digital asset" AND securit*                       133475                                208877
 "digital asset" AND ecosystem                       31546                                63542
 Coinbase                                            83588                                129280
 Solana                                              10610                                22195
 SOL                                                 10989                                65597
 *solana.org                                           0                                     0
 *solana.com                                          916                                  4134
 *solana.foundation                                   386                                  1107
 Cardano                                             5595                                 12590
 ADA                                                 20218                                55288
 *cardanofoundation.org                               647                                  3470
 *iohk.io                                             795                                  3827
 *emurgo.io                                            0                                     0
 Polygon                                             5138                                  9470
 MATIC                                               3271                                  9030
 *polygon.technology                                  223                                   415
 *protocol.ai                                         153                                   367
 Filecoin                                            4697                                  9395

1 Coinbase’s Proposed Search involved applying the above terms to all emails sent or received by 22 SEC

custodians during the period January 1, 2017 through June 6, 2023, as set forth in the Appendix to its June
25, 2024 Letter (D.E. 149-3). The above search hits do not reflect the exclusion of duplicates.
      Case 1:23-cv-04738-KPF            Document 151-2          Filed 08/05/24       Page 2 of 2




          Search Term                      No. of Search Hits                No. of Search Hits
                                             (Documents)                 (Documents & Attachments)
 FIL                                              4879                             18210
 *fil.org                                           31                               32
 Sandbox                                         15271                             30722
 SAND                                            17299                             46388
 sandbox.game                                      810                              3828
 Axie                                             1384                              2512
 AXS                                              2337                              4934
 *animocabrands.com                                 17                               131
 *pixowl.com                                        0                                 0
 *axieinfinity.com                                  13                               87
 *skymavis.com                                      9                                80
 Chiliz                                           1066                              4360
 CHZ                                               713                              1399
 *chiliz.com                                       654                              3586
 *mediarex.com                                      0                                 0
 "Dapper Labs"                                    1481                              2381
 FLOW                                           152532                            357270
 *dapperlabs.com                                    23                               41
 *dfinity.org                                      655                              3600
 "Internet Computer"                               427                              1068
 ICP                                              2255                              8153
 *Internetcomputer.org                              0                                 0
 NEAR /15 protocol                                 832                              1940
 NEAR /15 token 2  1F                             1520                              3440
 *near.foundation                                  133                               367
 *near.org                                         670                              3620
 Voyager                                         14374                             22162
 VGX                                              1866                              3263
 *investvoyager.com                                153                               291
 DASH                                            14129                             38857
 *dash.org                                         910                              4380
 Total Documents                               1,623,010                         3,009,996




2 Coinbase proposed “NEAR /s (protocol or token)” as a search term.    The SEC’s database platform cannot
run searches for two terms within the same sentence; thus, the SEC searched for “NEAR” within 15 words
of “protocol” or “token” to approximate the yield for this proposed term.
